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                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF LOUISIANA
                                          LAFAYETTE DIVISION


  STATE OF LOUISIANA ET AL                                          CASE NO. 6:22-CV-00885

  VERSUS                                                            JUDGE ROBERT R. SUMMERHAYS

  CENTERS FOR DISEASE CONTROL & MAGISTRATE                                         JUDGE     CAROL        B.
  PREVENTION                    WHITEHURST


                                                            ORDER

             On May 13, 2022, the Court denied the Motion for Limited Intervention [ECF No. 62] filed

  by Alicia De Los Angles Duran Raymundo, Kevin Alexi De Leon and Innovation Law Lab

  (collectively “Proposed Intervenors”). The Proposed Intervenors sought to intervene in the case to

  oppose the scope of any injunction entered by the Court so that any injunction did not apply on a

  nationwide basis. On May 20, 2022, the Court entered a Preliminary Injunction [ECF No. 91]

  which applied nationwide. The Defendants, as well as the Proposed Intervenors, have each filed a

  Notice of Appeal of the Court’s ruling. The Proposed Intervenors have now filed an Expedited

  Motion to Stay Nationwide Scope of Preliminary Injunction Pending Appeal [ECF No. 97]. For a

  court to grant a stay of an injunction pending appeal, four factors must be considered: (1) whether

  the movant has made a showing of likelihood of success on the merits; (2) whether the movant has

  made a showing of irreparable injury if the stay is not granted; (3) whether the granting of the stay

  would substantially harm the other parties; and (4) whether the granting of the stay would serve

  the public interest.1 The Court previously addressed the Proposed Intervenors’ argument on the

  nationwide scope of injunctive relief. The Court concludes, therefore, that the Proposed



  1
      Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. 1981).
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  Intervenors are unlikely to succeed on the merits of their appeal regarding the scope of the

  injunction. Accordingly,

         IT IS ORDERED THAT the Expedited Motion to Stay Nationwide Scope of

  Preliminary Injunction Pending Appeal [ECF No. 97] filed by Alicia De Los Angles Duran

  Raymundo, Kevin Alexi De Leon and Innovation Law Lab is DENIED.

         THUS DONE in Chambers on this 27th day of May, 2022.




                                                       ROBERT R. SUMMERHAYS
                                                    UNITED STATES DISTRICT JUDGE
